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                                 CURRICULUM VITAE
                                 Alan C,. Whitehouse, M.D.


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                                 Chattaroy VVA 99003

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                                 Libby, Mt 99523
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         NUMBERS·                Cell (509) 999-5500
                                .e·mail- alanwhitehouse47@gm.ail.com


         DATE OF BffiTH:        October 12, 1937

         WIFE:                  Sandra

    )    CIllLDREN:             Two

        EDUCATION: .            Cornell University
                                Ithaca, New York
                                BA Chemistry, 1959


                                :University of Cincinnati
                                Cincinnati, Ohio
                                MD 1963

        AWARDS                  Borden Undergraduate· Research Prize-1963
                                Peter T Kilgore prize -1963- for excellence in medicine
                                Alpha Omega Alpha - honorary medical fraternity 1963

        INTERNSHIP &
        RESIDENCY -            Duke University Medical Center
        INTERNAL MEDICINE:     Durham, North Carolina 1963 - 1965

        FELLOWSHIP IN
        PULMONARY DISEASE &
        INTERNAL MEDICINE
)       RESIDENCY:         University of Colorado
                           Denver, Colorado 1967 - 1969
                                                                                          EXHIBIT

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      Alan C. Whitehouse md
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      MILITARY:                  United States Air Force
                               . 6571 st Aeromedical Research Laboratory
                                 Holloman Air Force Base
                                 New Mexic·o 1965 ~ 1967

      BOARDS:                  American Board of Intemal Medicine, 1970
                               American Board of Pulmonary Disease 1971

      ORGANIZATIONS &          Alpha Oniega Alpha
          SOCIETIES:            Member Washington State Thoracic Society
                               Fellow ofthe American College of Chest Physicians
                               .Member of Spokane County Medical Society
                               Member of Washington State Medical Society
                               Member of Spokane Society of Internal Medicine

     APPOINTMENTS:             Medical Director Respiratory Therapy Department
                               Sacred Heart Medical Center, Spokane, WA, 1969 - 1989

                              .Past President, Washington Thoracic Society, 1979-1981

                              Tuberculosis Control Officer
                              Spokane County Health Department - 1978 - 2002

                              Board of Directors, Spokane Community College
                                 Foundation 1984-1988
                              President, Board of Directors; Spokane Community
                                 College Foundation 1988-1990
                              Washington State Department of Ecology Agricultural
                                 Burning Task Force, 1992          .

     PRIVATE PRACTICE:        Continuously 1969-2004 in Spokane (pulmonary Disease)
                              Associated Internists 1969-1995
                              Physicians Clinic ofSpokane1995-1998
                              Drs. Klock & Whitehouse, P.S. 1998 - 2004
                              CARD / Libby, Mt- 2005- present

     LICENSURE                Active-Washington, Montana.
                              Inactive- Idaho, Colorado,·North Carolina, Ohio
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    1     Curriculum Vitae
          Ahm C. Whitehouse, M.D.
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         Failure (A Systematic Approach). Annals·()fAllergy, 1968; 26:405-413~


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         Fiberoptic Intubation Laryngoscope. CHEST,1975;68:848.
)        Catton, Christopher K, Jeffrey C. Elmer, M.D., Alan C. Whitehouse, M.D., FCCP, Jeffrey B. Clode, M.D.,
         and Robert Hustrulid, M.D. Pulmonary Involvement in the Eosinophilia-Myalgia Syndrome. CHEST
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          of Patients from Libby, Montana. A Pilot Study of Environmental Cases. June, 2002. ATSDR, Atianta,
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        Whitehouse; A Asbestos-Related Pleural Disease Due to Tremolite Associated with Progressive Loss· of
        Lung Function: Serial Observations in 123 miners, Family Members, and Residents ofLibby, Montana.
        AmJIndMed46:219-225,2004                                               .    .

        Whitehouse et aI, EnvironmentaL Exposure to Libby Asbestos and Mesothelioma, AJIM, accepted for
        publication and in press.




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      INVITED PRESENTATIONS ON ASBESTOS

      1/2/00 Bellingham, V(a. American college of Occupational and Environmental Medicine

      3/00     Cincinnati, Ohio, CDC meeting on tremolite asbestos disease

      5/1 0/00 Washing ton, DC, N IOSH?CDC Meeting on tremolite disease

      10/00    Kalispel Regional Hospital Grand Grounds

     2001      Washington DC , US Senate hearing! Sen Patty Murray re asbestos diseases

      11/15/01 Butte, Mt,ASSE Lecture re Libby Asbestos

     6/24/02    Missoula, Mt. Conference om Asbestos Diseases
 )
     10/4/04    Wenatchee, Wa. Wa State Public Health Group

     11/19/04 Tacoma, Wa. ATSDR Meeting

     6/17/05· West Yellowstone, MT       Governor's Conference on Workers Compensation
                                         and Occupational Safety & Health

     2/25/06     Spokane SoCietY-ofInternai Medicine Update- On LibbyAsbestos.
                    with Brad Black

     3/31/06      Grand Rounds, Mt Sinai School of Medicine

     7/23-24/07 EPA DenverlLibby Epidemiology Meeting




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                                                              AMERICAN JOURNAL OF INDUSTRIAL MEDICINE 46:219-225 (2004) .




             Asbestos-Reblt.ed .Pleural Disease~ue to
          Trem.oliteAss'ociated With P,rogr~ssive Loss of.
         Lung Function: Seria·1 Observations i,n 123 Miners,
         Family Members, and Resid.ents of Libby, Montana

                                                 . Alan C.Whltehouse, MD, FCCpl,2*.
                                                  ,




                         Background The conimunity'ofLibby, Montalia hasrecelitly been the focus of national
                         attention secondary to widespread amphibole contamination associated with vermiculite
                      . mining aiuJ. processing.
                        MethOds Patients who had occupiztional and non-occupational exposure to amphibole
                        asbestos in LibbYiMontana were evaluatedfor progressive loss ofpulmonary function.
                        Results Of the 123 patients evaluated, 94 .demonstrated average age-corrected .
                        accelerated loss pef year ofvital capacity at 3.2%, total lung capaCity (TLC) 2.3%, and
                        DLCO 3.3%. All patients all 1Uul pr.edominantly pleural changes with. minimal to 'no
                        interstitial disease.                                 .         .
                       Conclusions The study demonstrates aprogresszve loss ofpulmonaryfunction in patients
                       exposed to tremolite asb~stos. Am. 1. Ind. Med. 46:219-225, 2004. IC> 2004 Wiley~Liss, InC.

                      KEY WORDS: trem~lite; asbestos; pubnoriary function; IilJby; vermiculite; environ~
                      mental; eXposure; mining; dust                                                  .


       INTRODUCTION                                                          iated with tremolite exposure from the vermiculite mining
                                                                             and processm.g activity in Libby. The amphibole of the Libby
         ··m        November 1999, it was reported that thecoIlllilUnlty mine has been characterized by mineralogists as a iremolite-
       of Libby, Montana was experiencing· an epidemic of. actinolite-richterite-winchite transition fiber and will hence· .
       pulIilonary disease associated-Withoccupationat and envir- forth be referred to as· tremolite .fUSGeolog1calSurvey,
       onmentai c:ontaminatlon of asbestiform amphibole materials Bulletin 2193, 2002].·                       ..
       within  the       community. Investigations revealed that the,as-       . . The vermiculite bed seven IDiles northeast ofLibby was
     . bestos contamination was associated with a vermiculite discovered in 1916 and mined iIiitially for asbestos by the .
       n;rlWngand processing operation. Tremolite is an amphibole Zonolite Corporation and then subsequentlyfor vermiculite.
       which has very little commercial value but is a: contaminant· It was mined by W.RGrace & Co. from 1963 to ·1990 and
       of the vermiculite ore. source in Libby [McDonald et aI., was for a long period of time the world's largest producer of
       1986a]. This report will reference the high incidence of venniculite.                        .
      asbestos related pleural changes and their progression assoc-                Vermiculite is a hydrated, laminar, aluminum-nciri-
                                                                            magnesium micacious silicate, which when heated expands
                                                                            to between 10 and 20 times itS original proportions and is
         1K1ock and Whitehouse P.S.• Spokami. Washington                    excellent as an insulator, soil conditioner, and fertilizer
         2t:enter for Asbestos-Related Diseases. Libby. Montana
        'Con9spondencelD: Alan C. WhKehouse;104 W. Rlth. Spokane. WA 99201. additive [Moatamed et al., 1986].
      E-mait acwl@s!snacom                                                        In the process of mining and processmg this material,
                                                                            WR. Grace Company had multiple sites in proximity to
        Accepted 13 May 2004
                                                                            Libby inclUding an expanding and shipping facility. The ore
,J      DO! 10.1002fallrn20053. Published online in Wiley InterScience
     (wwwlnterscience.wiley.com)                                            body contained 21-26% tremolite and was initially pro-

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